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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                          4:22-CR-3100
vs.
                                               FINAL ORDER OF FORFEITURE
JENO MICHAEL PAULUCCI AND
PATRICK LEWIS MCKINNEY,

                    Defendants.


      This matter is before the Court on the plaintiff's Motion for Final Order
of Forfeiture (filing 135). On June 20, 2023, the Court entered a preliminary
Order of Forfeiture (filing 99) pursuant to 21 U.S.C. § 853, based on Jeno
Michael Paulucci's and Patrick Lewis McKinney's pleas of guilty to possessing
methamphetamine with intent to distribute it, in violation of 21 U.S.C. § 841,
and the defendants' admissions of the forfeiture allegations brought against
them. Filing 76 at 1; filing 82 at 24-25; filing 91 at 1; filing 96 at 22. By way of
the amended preliminary order of forfeiture, the defendants' interest in a 2018
Cadillac Escalade Utility 4D Luxury, VIN #1GYS4BKJ5JR365943, was
forfeited to the United States. Filing 99.
      As directed by the order, a Notice of Criminal Forfeiture was posted
beginning on July 13, 2023, on an official Internet government forfeiture site,
www.forfeiture.gov, for at least 30 consecutive days, as required by Supp.
Admiralty and Maritime Claims R. G(4)(a)(iii)(B). A Declaration of Publication
(filing 134) was filed on September 14, 2023. The Court has been advised by
the plaintiff that no petitions have been filed, and from a review of the Court
file, the Court finds no petitions have been filed.
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    IT IS ORDERED:


    1.    The plaintiff's Motion for Final Order of Forfeiture (filing
          135) is granted.


    2.    All right, title, and interest in and to the 2018 Cadillac
          Escalade Utility 4D Luxury, VIN #1GYS4BKJ5JR365943,
          held by any person or entity are forever barred and
          foreclosed.


    3.    The vehicle is forfeited to the plaintiff.


    4.    The plaintiff is directed to dispose of the vehicle in
          accordance with law.


    Dated this 15th day of September, 2023.

                                           BY THE COURT:



                                           John M. Gerrard
                                           Senior United States District Judge




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